                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION – DETROIT

IN THE MATTER OF:
 Eastlake Investments, LLC,                  Case No. 19-42309
                                             Judge Thomas J. Tucker
                     Debtor.                 Chapter 7


    ORDER (1) AUTHORIZING COMPROMISE AND APPROVING
  SETTLEMENT AGREEMENT; (2) AUTHORIZING DISTRIBUTIONS;
             AND (3) GRANTING RELATED RELIEF

      This case is before the Court on the Motion for Entry of Order (1)

Authorizing Compromise and Approving Settlement Agreement; (2) Authorizing

Distributions; and (3) Granting Related Relief (Docket # 456, the “Motion”), filed

by the Chapter 7 Trustee, Fred J. Dery (the “Trustee”). The Motion and related

notice to creditors were served under, inter alia, E.D. Mich. LBR 9014-1 and Rule

2002(a)(7) of the Federal Rules of Bankruptcy Procedure, on all parties on the

matrix of creditors and the U.S. Trustee. No objections to the Motion were timely

filed. The Court finds the relief requested is in the best interest of the bankruptcy

estate, creditors and other parties in interest. This Court has jurisdiction over this

matter under 28 U.S.C. §§ 157(b)(1) and 1334. This proceeding is a core

proceeding under 28 U.S.C. §§ 157(b)(2)(B) and 157(b)(2)(H). Venue of this

proceeding and the Motion in this District is proper under 28 U.S.C. §§ 1408 and

1409. This Court is otherwise duly advised in the premises.

      IT IS ORDERED as follows:


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      1.     The Motion is granted. Capitalized terms as used herein will have the

same meanings asscribed to them in the Motion, unless otherwise provided herein.

Approval of the Settlement Agreement

      2.     The Settlement Agreement is reasonable, in the best interest of the

bankruptcy estate and the Debtor’s creditors, and therefore approved and given full

force and effect under its terms. The failure specifically to include any particular

provision of the Settlement Agreement in this Order does not impair the

effectiveness of such provisions, it being the intent of this Court to approve the

Settlement Agreement in its entirety.

      3.     The Trustee is authorized to execute such documents and agreements

and perform such acts on behalf of the bankruptcy estate as may be necessary and

appropriate to implement, effectuate, and consummate the provisions and intent of

this Order and the Settlement Agreement.

      4.     In the event of a conflict between this Order and the Settlement

Agreement, this Order will control.

Approval of Distributions by Trustee

      5.     Upon this Order becoming a final and non-appealable order, the

Trustee is authorized to make the following distributions:

             a.     The Trustee is authorized to pay $4,200.00 to Scott Wolfson,

mediator.




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             b.     The Trustee is authorized to make final distributions to

creditors under, inter alia, 11 U.S.C. § 726(a)(5) as follows:

 Claim No.                    Creditor Name               Distribution

 1-1                          Schafer and Weiner, LLC $186.26

 3-1                          Citizens Bank, N.A.         $8,959.93

 8-1                          First State Bank            $101.52


             c.     The Trustee is authorized to pay Chapter 7 Trustee, Stuart A.

Gold, $17,030.50 (Claim No. 12-1) in full satisfaction of the Border Claim. The

payment will be made payable to “Chapter 7 Trustee, Stuart A. Gold” and

delivered in care of his counsel, Elias T. Majoros, Gold Lange & Majoros, PC,

24901 Northwestern Hwy; Suite 444, Southfield, Michigan 48075.

             d.     The Trustee is authorized to pay Danou $200,000.00. Such

payment will be made payable to “Gold Lange and Majoros PC IOLTA Account”

and delivered in care of his counsel, John Lange, Gold Lange & Majoros, PC,

24901 Northwestern Hwy; Suite 444, Southfield, Michigan 48075.

             e.     The Trustee is authorized to pay Semma $400,000.00. Such

payment will be made payable to “Frank & Frank, PLLC IOLTA Account” and

delivered in care of his counsel, Jerry Frank, Frank & Frank, PLLC, 30833

Northwestern Hwy., Suite 205, Farmington Hills, MI 48334.




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      6.     After receipt of the foregoing amounts, no unsecured creditors will be

entitled to further distribution from the Bankruptcy Estate.

      7.     The distributions provided herein are without prejudice to the rights of

all administrative claimants, including compensation for the Chapter 7 Trustee.

All final applications for compensation by administrative claimants must be filed

within fourteen (14) days of this Order becoming a final and non-appealable order.

      8.     After the payment of all administrative expenses and all other

payments provided herein, Semma must be paid the remaining funds on hand at the

time that the Trustee’s final report is approved.

Other Related Relief

      9.     Notwithstanding anything in the Bankruptcy Rules to the contrary,

this Order will be immediately effective and enforceable upon its entry, and any

appeal rights under Bankruptcy Rule 8002 are hereby waived.

      10.    This Court will retain jurisdiction with respect to all matters arising

from or related to the implementation or interpretation of this Order.



Signed on August 24, 2020




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